Case 2:04-cr-20242-.]DB Document 55 Filed 06/21/05 Page 1 of 2 PagelD 73

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IN THE uNiTED sTATEs oisTRicT oouRT _ act
FoR THE wEsTERN olsTRlcT oF TENNEssEE 05 JUN
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uNlTEo sTATEs oF AMERch, GF N vs~ip§§
Plaintiff,
vs. cR. No. 04-20242-01-3
cuRTis BYRD,
Defendant.

 

oRDER oN coNTlNuANCE AND sPEClFYlNo PERIoD oF ExCLuDABLE DELAY
AND SETT|NG

 

This cause came on for a status report date on June 20, 2005. Counsel for the
defendant had previously consented to a a continuance of the June 6, 2005 trial date in
order to allow for additional preparation in the case.

The Court granted the govern ment’s request and reset the trial date to Aug ust 1,
2005 with a report date of Mondag¢ll July 25, 2005l at 9:30 a.m., in Courtroom 1. 11th
El_c_)g_[ of the Federal Building, Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

iTis sooRoEREDthis 2-_' da of ne,2005.

 

J. o NlEl_ BREEN \
ED sTATEs olsTRlcT JquE

This document entered on the docket sheet in compliance
with Flule 55 and!or 32(b) FFtCrP on ” "

   
  

   

   

  
  

UNITED sTATE D"ISIC COURT - WESRNTE D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20242 Was distributed by faX, mail, or direct printing on
.1 une 21 , 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

